Case 1:21-cv-02130-CJN Document 2-4 Filed 08/10/21 Page 1 of 4




    Exhibit 373
             Case 1:21-cv-02130-CJN Document 2-4 Filed 08/10/21 Page 2 of 4

                                        Susman Godfrey l.l.p.
                                         a registered limited liability partnership
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                                                    www.susmangodfrey.com
                                                       __________
        Suite 5100                                       Suite 1400                                   Suite 3800
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     (713) 651-9366                                   (310) 789-3100                                (206) 516-3880
        __________                                        __________                                   __________

                        Stephen Shackelford, Jr.
                                                                                      E-Mail SShackelford@susmangodfrey.com
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 April 16, 2021

 Via E-Mail

 Eric P. Early
 Early Sullivan Wright Gizer & McRae LLP
 eearly@earlysullivan.com

 Re:      OAN’s Knowingly False Coverage of dominion

 Dear Mr. Early:

 On behalf of Dominion, we write to once again insist that your client—One America News
 Network (“OAN”)—retract its defamatory statements that it continues to broadcast and stop
 spreading these hateful and hurtful lies. We have recently learned that OAN will continue to
 broadcast defamatory statements about Dominion on April 17 and 18.1

 As you well know, counsel for Dominion has sent multiple retraction demands to OAN urging the
 company to correct the record and retract the many lies it has published about Dominion. The
 need for the multiple demands stems from OAN’s continued refusal to issue any sort of retraction,
 not to mention its continued insistence on publishing ever more falsehoods about our client. I will
 not repeat the lengthy history of that correspondence here, let alone the detailed information
 previously provided to OAN establishing the falsity of its claims about Dominion; rather I refer
 you to the December and January letters, which are incorporated herein by reference.

 Even now, months after an election that has repeatedly been proven to be the most secure in our
 nation’s history, OAN continues to devote significant resources to defaming Dominion and casting
 doubt over our democratic institutions. Specifically, on April 13, 2021, OAN once again
 broadcasted lies about Dominion, including numerous statements claiming Dominion machines
 were connected to the internet, as well as numerous statements claiming Dominion machines
 facilitated foreign involvement in the 2020 Presidential Election.2 Not only did OAN promote

 1
   “Dominion” refers to US Dominion Inc. and its subsidiaries, Dominion Voting Systems, Inc. and Dominion Systems
 Corporation.
 2
   The defamatory segment is available here: https://twitter.com/OANN/status/1382714455092432904?s=20.
           Case 1:21-cv-02130-CJN Document 2-4 Filed 08/10/21 Page 3 of 4



Eric P. Early
April 16, 2021
Page 2



these lies, it adopted them as its own, declaring, for example, that certain evidence “is a clear
admission [Dominion] knew the machines were connected to the Internet.” These accusations are
defamatory per se, and—as OAN well knows—entirely false.

The above statements were coupled with powerful—and again patently false—imagery, including
the below image of an ES&S DS200 system, which in the broadcast is equated with a Dominion
machine and then claimed to have been connected to the internet.




Again, as has repeatedly been made clear to OAN in Dominion’s many letters, Dominion machines
were never connected to the internet, whether during the tabulation process or at any time that
would enable manipulation of vote counts. As Dominion has made clear in repeated testimony,
its systems are “closed networks.” External modems that comply with federal and state security
guidelines are used in certain jurisdictions to electronically transmit results only after polls are
closed and results have been tallied and printed in hardcopy (while a paper tally is hand-delivered
to the county clerk). And Dominion machines did not facilitate any foreign interference in the
2020 Presidential Election. The claim of foreign interference is apparently based on spreadsheets
containing fake “raw data analytics” comprised of doctored and fraudulent data—publicly
available IP addresses of county government websites and fake MAC addresses for both the
“SOURCE” and “TARGET” owners. As you know, the validity of these spreadsheets and the
related claims of foreign interference have been widely debunked,3 and they leave viewers with
the false impression that the vote count was manipulated.
3
  See, e.g., https://news.yahoo.com/dominion-v-my-pillow-guy-mike-lindell-test-for-libel-laws-090617228.html. We
refer you also to the Complaint Dominion filed against Mike Lindell, which details at length why the clams of foreign
interference based out outlandish videos showing falsified spreadsheets are intentionally misleading and knowingly
false. See https://www.courtlistener.com/docket/59670901/1/us-dominion-inc-v-my-pillow-inc/.
          Case 1:21-cv-02130-CJN Document 2-4 Filed 08/10/21 Page 4 of 4



Eric P. Early
April 16, 2021
Page 3




But OAN has gone even further than adopting and promoting these lies. OAN branded the lies
“Dominion-izing the Vote” through its false and misleading videos, thereby making the Dominion
name synonymous with electoral fraud, as Kleenex is to tissues. The harm from these lies cannot
be overstated.

Worse yet, we understand this April 13 report is just the beginning of the next chapter in OAN’s
defamatory scheme, as OAN plans on airing a so-called exclusive investigation on Saturday April
17 and Sunday April 18, during which it is clear OAN intends to champion yet more lies about
Dominion.4 In so doing, OAN also plans to provide a platform for Col. Phil Waldron, who has
made a name for himself by repeating widely debunked false statements, rejected by numerous
election officials not to mention federal courts, about the election results in certain key swing
states, including Michigan and Georgia.5 No disclaimers by OAN can immunize it from
accountability for publishing and republishing these and other outlandish and widely discredited
statements.

OAN must immediately retract and remove the April 13 report, as well as the promotion for the
April 17 and 18 so-called investigation, from all platforms it controls and issue an immediate on-
air and written apology to Dominion with the same prominence as the original broadcast. OAN is
also on notice that, should it decide to air its so-called exclusive investigations, and should those
investigations repeat the same falsities OAN has long since been on notice of, it will be airing
knowingly defamatory falsehoods about Dominion.

OAN cannot fix the catastrophic damage it has already caused Dominion and our democratic
institutions. It can, however, decide to take this no further. We urge it to do so.

Sincerely,



Stephen Shackelford, Jr.




4
 The defamatory promo is available here: https://twitter.com/OANN/status/1382113274557198337?s=20.
5
 https://www.detroitnews.com/story/news/politics/2020/12/04/why-8-claims-rudy-giulianis-michigan-witnesses-
dont-add-up/3824210001/; https://www.newsweek.com/trump-campaign-witness-cant-back-claims-georgia-
election-fraud-hearings-1552257.
